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       UNITED STATES OF AMERICA
14
                                UNITED STATES DISTRICT COURT
15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
       UNITED STATES OF AMERICA,                No. CR 17-00661(A)-DMG
17
                  Plaintiff,                    GOVERNMENT’S OPPOSITION TO
18                                              DEFENDANT SURGERY CENTER
                        v.                      MANAGEMENT’S MOTION TO DISMISS
19                                              BECAUSE OF LOSS AND/OR DESTRUCTION
       JULIAN OMIDI,                            OF EVIDENCE
20       aka “Combiz Omidi,”                    (TROMBETTA/YOUNGBLOOD);
         aka “Combiz Julian Omidi,”             DECLARATION OF KRISTEN A. WILLIAMS
21       aka “Kambiz Omidi,”
         aka “Kambiz Beniamia Omidi,”           Hearing Date: September 1, 2021
22       aka “Ben Omidi,”                       Hearing Time: 4:30PM
       SURGERY CENTER MANAGEMENT, LLC,          Location:     Courtroom of the
23     and                                                    Hon. Dolly M. Gee
       MIRALI ZARRABI, M.D.,
24       aka “Mirali Akba Ghandchi
              Zarrabi,”
25       aka “M.A. Ghandchi Zarrabi,”

26                Defendants.

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1            Plaintiff United States of America, by and through its counsel

2      of record, the Acting United States Attorney for the Central District

3      of California and Assistant United States Attorney Kristen A.

4      Williams, Cathy J. Ostiller, Alexander C.K. Wyman, and Ali Moghaddas,

5      hereby files its Opposition to defendant Surgery Center Management,

6      LLC’s Motion to Dismiss Because of Loss and/or Destruction of

7      Evidence (Trombetta/Youngblood).       (Dkt. 1166.)

8            This Opposition is based upon the attached memorandum of points

9      and authorities, the attached declaration of Assistant United States

10     Attorney Kristen A. Williams, the files and records in this case, and

11     such further evidence and argument as the Court may permit.

12      Dated: August 17, 2021              Respectfully submitted,

13                                          TRACY L. WILKISON
                                            Acting United States Attorney
14
                                            SCOTT M. GARRINGER
15                                          Assistant United States Attorney
                                            Chief, Criminal Division
16

17
                                            KRISTEN A. WILLIAMS
18                                          CATHY J. OSTILLER
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19                                          ALI MOGHADDAS
                                            Assistant United States Attorneys
20
                                            Attorneys for Plaintiff
21                                          UNITED STATES OF AMERICA

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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2      I.    INTRODUCTION

3            On June 17, 2016, Charles Klasky ended his employment with GET

4      THIN and deleted some of his files from his work computer as he left.

5      Defendant SURGERY CENTER MANAGEMENT, LLC (“SCM”) now makes vague and

6      conclusory claims that this amounted to the government’s bad faith

7      destruction of evidence that could have exonerated it.           (Dkt. 1166

8      (“Motion”).)    However, its Motion fails to demonstrate that any of

9      those things are true, much less warrant the extraordinary remedies

10     it requests.    The Internet browsing files and handful of background

11     documents about sleep study questionnaires that can be readily found

12     on the Internet do not appear to have any evidentiary significance to

13     this case, much less be exculpatory.        There is no evidence the

14     government even knew of Klasky’s actions beforehand, much less

15     directed them.    The Motion should be denied.

16     II.   STATEMENT OF FACTS

17           As the Court is aware from prior briefing (see, e.g., Dkt. 797,

18     886), Klasky began working with GET THIN as the manager of its sleep
19     study program, run through Independent Medical Services, Inc., in or

20     around May 2010.     After a brief departure in late 2015, Klasky

21     returned in mid-January 2016 for significantly less compensation and

22     working largely on insurance collection on behalf of another GET THIN

23     entity, Salus Medical Services, Inc.        Following the March 2016 search

24     of Klasky’s residence, Klasky agreed to cooperate with the government

25     in the conduct of recordings of his conversations with defendant

26     JULIAN OMIDI (“OMIDI”) during his continued work with GET THIN.            (See

27     Order re Defendant Julian Omidi’s Motion Requesting Judicial Findings

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1      on Joint Defense Privilege Issues (“Order”) at 4, Dkt. 943.)            The

2      last of those recordings occurred on June 9, 2016.          (Order at 5.)

3            Klasky left GET THIN on June 17, 2016.        (Dkt. 1166-1 (“Rajabi

4      Decl.”) ¶ 5.)    On that last day, Klasky has stated that he deleted

5      approximately 800 of his files, primarily related to his extensive

6      job search efforts, from his work computer.         (Id. ¶ 10.)    SCM’s IT

7      consultant, Ashkan Rajabi, apparently learned of these deletions

8      three days later.     (Id. ¶¶ 6-7.)    As reflected in the discovery in

9      this case, the government asked Klasky about these deletions (and

10     received the above response) only after counsel for OMIDI and others

11     raised them during a July 5, 2016 meeting with the government. 1

12     (Declaration of Kristen A. Williams (“Williams Decl.”) ¶ 2.)

13           On August 2, 2021, during a telephone conference regarding SCM’s

14     anticipated motion, the government requested information about the

15     files SCM claimed Klasky had deleted and asked for access to the

16     electronic information regarding that alleged deletion so that it

17     could assess SCM’s claims.      (Id. ¶ 4.)    Counsel for SCM responded

18     that he had not yet seen the evidence, but had just been informed
19     about it by disbarred attorney Brian Oxman the day before.           (Id.)       To

20     date, SCM has not provided the government with any of the original

21     electronic information regarding the alleged deletions.           (Id.)

22           SCM filed the instant motion with a three-page declaration dated

23     April 13, 2018, from Rajabi.       That declaration, which is not

24

25           1In March 2018, OMIDI’s counsel included a purported screenshot
       of Klasky’s computer from June 17, 2016 in correspondence. (Dkt.
26     185, Ex. K.) The government noted that there was no authentication
       of the screenshot, evidence of whose computer it was, or proof of any
27     material (much less volume or substance) deleted on any date, and
       requested information underlying the claims. (Dkt. 185, Ex. L.) The
28     government never received any materials responsive to its requests.
       (Williams Decl. ¶ 3.)
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1      supported by any exhibits, claims that, on June 17, 2016, Klasky

2      deleted unidentified files from his desktop, download folder,

3      document folder and other folders, as well as various unidentified

4      Internet-related records, including bookmarks, favorite websites,

5      cookies, and browsing history.       (Rajabi Decl. ¶ 7.)     Although the

6      declaration asserts that Klasky “deleted essentially all of the files

7      which [sic] related to sleep studies and correspondence and papers

8      related to his work and the sleep studies” (id.), the only “sleep

9      study related files” specifically identified as deleted are:

10           Insomnia Severity Index, PSQI_Instrument, PSQI_Scoring,
             PSQI Scoring database, Functional Status Outcomes for
11           Sleep, TrajectoryCalculator, The Epworth Sleepiness Scale—
             Background, Measures of Sleep (Questionnaires), Insomnia
12           Severity Index-ISI, PSQI_How_to_Download_and_use, and
             psqi_sleep_questionaire_1_pg.
13

14     (Id. ¶ 11.)    The file names appear to relate to informational or

15     background documentation rather than documents specific to GET THIN

16     or its patients.     Additionally, several of the files listed appear to

17     bear similar names to files readily accessible through Internet

18     searches.    See, e.g., Sleep measures/Instruments, Center for Sleep
19     and Circadian Science, https://www.sleep.pitt.edu/instruments/ (last

20     visited Aug. 12, 2021) (providing links to documents related to the

21     Pittsburg Sleep Quality Index (“PSQI”), including PSQI-

22     Instrument.pdf, PSQI-Scoring.doc, PSQI-How-to-Download-and-use.pdf,

23     PSQI-Scoring-database.zip); ons.org,

24     https://www.ons.org/sites/default/files/InsomniaSeverityIndex_ISI.pdf

25     (last visited Aug. 12, 2021).

26           Over the course of the government’s investigation of the GET

27     THIN enterprise, the government obtained numerous business, medical,

28     and financial records relating to GET THIN’s business practices and

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1      insurance claims, including its sleep study program and sleep study

2      reports.    (Williams Decl. ¶ 5.)     Most of these records were obtained

3      before (often years before) June 2016.        (Id.)   Those records have

4      included hundreds, if not thousands, of sleep study reports and the

5      protocols and procedures of GET THIN’s sleep study program produced

6      by SCM itself; thousands of sleep study reports, GET THIN’s

7      electronic medical records database, and numerous documents and

8      emails regarding the conduct of GET THIN’s sleep study program

9      obtained from GET THIN’s business locations pursuant to searches in

10     June 2014; and thousands of sleep study reports and patient records

11     obtained from witnesses and the March 2016 search of Klasky’s

12     residence and email account.       (Id.)    To the extent these materials

13     were received by the prosecution team and were discoverable, they

14     have been produced in discovery in this case.         (Id.)   Searches for

15     “PSQI,” “Pittsburgh Sleep Quality Index,” and “Insomnia Severity

16     Index” within the government’s discovery database reveal very few

17     hits and none that appear to reflect that GET THIN administered these

18     sleep questionnaires to its patients.        (Id.)
19     III. ARGUMENT

20           In order for the government to violate a defendant’s right to

21     due process with respect to unavailable evidence, (1) evidence must

22     have possessed an exculpatory value apparent before it was destroyed

23     and be of such a nature that the defendant would be unable to obtain

24     comparable evidence by other reasonably available means and (2) the

25     government must have acted in bad faith in failing to preserve the

26     evidence.    See California v. Trombetta, 467 U.S. 479, 489 (1984);

27     Arizona v. Youngblood, 488 U.S. 51, 57-58 (1988).          SCM’s motion makes

28     conclusory statements, but offers no evidence on either point, even

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1      though this was SCM’s burden, and SCM was obliged, as the moving

2      party, to “set forth all facts then known upon which it is contended

3      the motion should be granted.” 2      L.Cr.R. 12-1.1.    See Trombetta, 467

4      U.S. at 489; United States v. Marshall, 109 F.3d 94, 97-98 (1st Cir.

5      1997).

6            The deleted materials at issue here, to the extent SCM specifies

7      them, appear to be either files related to Internet browsing or

8      background, informational documents related to various types of sleep

9      study questionnaires, including various questionnaires that GET

10     THIN’s sleep study program does not appear to have ever used.

11     Although SCM describes the latter category as “sleep study records”

12     (Motion at 5), the fact that a document may be related to the conduct

13     of sleep studies generally does not mean that it is a medical record

14     relating to a sleep study conducted by GET THIN (which these do not

15     appear to be), reflects internal GET THIN policies and protocols

16     regarding its sleep study program, or is even a business record of

17     GET THIN.    SCM fails to demonstrate that the materials deleted have

18     any evidentiary value in this case, much less constitute evidence

19     with an exculpatory value that was readily apparent in June 2016,

20     after the charged scheme had ended and after voluminous records

21     regarding the conduct of GET THIN’s sleep study program had already

22     been gathered, including from SCM and GET THIN directly years

23     earlier.    Nor does SCM offer any reason to think that these materials

24

25           2The Court should not permit SCM to supplement its facts in its
       reply, particularly given that it apparently has been aware of this
26     issue for more than five years and has repeatedly ignored the
       government’s request for more information on this issue. If it does
27     attempt to do so, the government intends to request that those facts
       be stricken or, alternatively, that SCM be ordered to disclose the
28     underlying original electronic evidence it has on this issue and that
       the government be given an opportunity to file a further response.
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1      (should it actually want them) could not be reasonably obtained

2      through other means, either in the hundreds of thousands of documents

3      previously obtained from GET THIN or through a Google search.

4            Similarly, the Motion provides no evidence that the government

5      directed or authorized Klasky’s conduct in deleting the items, or

6      that even was aware of it at the time.        Indeed, as reflected in the

7      discovery produced in this case, to the Prosecution Team’s knowledge,

8      no such evidence exists, and the government only asked Klasky about

9      those deletions after they had been brought to its attention.

10     (Williams Decl. ¶ 2.)     See United States v. Estrada, 453 F.3d 1208,

11     1212-13 (9th Cir. 2006) (no due process violation where truck

12     containing pseudoephedrine pills had uncertain evidentiary value and

13     there was no showing the government knew or intended for truck to be

14     sold by towing company).

15           Nor can SCM demonstrate bad faith by pointing to Klasky’s

16     contemporaneous cooperation with the government.          The fact that a

17     cooperator is assisting the government in some respects, does not

18     necessarily turn the cooperator into an agent of the government in
19     all respects or make all of the cooperator’s actions attributable to

20     the government, particularly where, as here, the government did not

21     know of or direct or authorize the conduct.         Cf. United States v.

22     Holler, 411 F.3d 1061, 1065-66 (9th Cir. 2005) (no violation of due

23     process where informant’s misconduct not attributable to government);

24     United States v. Prairie, 572 F.2d 1316, 1319 (9th Cir. 1978) (no due

25     process violation for outrageous government conduct when paid

26     informant had sex with suspect, but was neither paid nor asked by

27     agents to establish a relationship with the suspect).

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1      IV.   CONCLUSION

2            Because SCM has failed to demonstrate that there is any due

3      process violation here, much less one warranting the extraordinary

4      remedies he seeks, the government respectfully requests that this

5      Court deny the Motion.

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1                       DECLARATION OF KRISTEN A. WILLIAMS

2         I, Kristen A. Williams, state and declare as follows:

3         1.   I am an Assistant United States Attorney (“AUSA”) for the

4    Central District of California and am one of the attorneys assigned

5    to the prosecution of United States v. Julian Omidi, et al., CR No.

6    17-00661-DMG.   I make this declaration in support of the Government’s

7    Opposition to defendant SURGERY CENTER MANAGEMENT, LLC’s (“SCM”)

8    Motion to Dismiss Because of Loss and/or Destruction of Evidence

9    (Trombetta/Youngblood).

10        2.   Based on my familiarity with the discovery produced in this

11   case and available to the Prosecution Team, I know that the

12   statements by Charles Klasky referenced in the declaration of Ashkan

13   Rajabi’s submitted in support of SCM’s motion at paragraph 10 are

14   from the government’s October 2016 interview of Klasky, well after

15   counsel for OMIDI and others raised the issue of Klasky’s June 17,

16   2016 deletions during a July 5, 2016 meeting with the government.

17        3.   The government never received any materials responsive to

18   its requests for information underlying the purported June 17, 2016
19   screenshot of Klasky’s computer contained in counsel for defendant

20   JULIAN OMIDI’s March 2018 correspondence.

21        4.   On August 2, 2021, during a telephone conference regarding

22   SCM’s anticipated motion, I asked counsel for SCM, Michael Devereux,

23   for more information about the files SCM claimed Klasky had deleted

24   and asked for access to the electronic information regarding that

25   alleged deletion so that it could assess SCM’s claims.         Mr. Devereux

26   responded that he had not yet seen the evidence, but had just been

27   informed about it by disbarred attorney Brian Oxman the day before.

28   To date, SCM has not provided the government with any of the original

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1    electronic information regarding the alleged deletions referenced in

2    its motion.

3         5.   Based on my familiarity with the government’s investigation

4    and discovery in this case, I know that, over the course of the

5    investigation of the GET THIN enterprise, the government obtained

6    numerous business, medical, and financial records relating to GET

7    THIN’s business practices and insurance claims, including its sleep

8    study program and sleep study reports.       Most of these records were

9    obtained before (often years before) June 2016.        Those records have

10   included hundreds, if not thousands, of sleep study reports and the

11   protocols and procedures of GET THIN’s sleep study program produced

12   by SCM itself; thousands of sleep study reports, GET THIN’s

13   electronic medical records database, and numerous documents and

14   emails regarding the conduct of GET THIN’s sleep study program

15   obtained from GET THIN’s business locations pursuant to searches in

16   June 2014; and thousands of sleep study reports and patient records

17   obtained from witnesses and the March 2016 search of Klasky’s

18   residence and email account.     To the extent these materials were

19   received by the Prosecution Team and were discoverable, they have

20   been produced in discovery in this case.       Searches for “PSQI,”

21   “Pittsburgh Sleep Quality Index,” and “Insomnia Severity Index”

22   within the government’s discovery database reveal very few hits and

23   none that appear to reflect that GET THIN administered these sleep

24   questionnaires to its patients.

25        I declare under penalty of perjury under the laws of the United

26   States of America that the foregoing is true and correct to the best

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1    of my knowledge and belief and that this declaration was executed on

2    August 16, 2021, at Los Angeles, California.

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5                                           KRISTEN A. WILLIAMS

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